

Matter of Mory F. v Hawa K.F. (2021 NY Slip Op 02490)





Matter of Mory F. v Hawa K.F.


2021 NY Slip Op 02490


Decided on April 27, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 27, 2021

Before: Gische, J.P., Kern, Mazzarelli, Kennedy, JJ. 


Index No. V12944/18 V12945/18 Appeal No. 13676 Case No. 2020-00755 

[*1]In the Matter of Mory F., Petitioner-Respondent,
vHawa K.F., Respondent-Appellant. Administration for children's services, Respondent.


The Law Offices of Salihah R. Denman, PLLC, New York (Salihah R. Denman of counsel), for appellant.



Appeal from order, Family Court, New York County (Maria Arias, J.), entered on or about December 10, 2019, which awarded petitioner father custody of the subject children, unanimously dismissed, without costs.
Application by the mother's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1st Dept 1976]). A review of the record demonstrates that there are no nonfrivolous issues which could be raised on appeal. The mother is not aggrieved by the order since she consented
to the father having custody of the subject children (see CPLR 5511; Matter of Shaniyah D.C. [Olivia C.], 143 AD3d 608, 609 [1st Dept 2016]), who already resided with him at the time he filed the petition.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 27, 2021








